






MEMORANDUM OPINION




No. 04-03-00321-CR



Leslie HENLEY,


Appellant



v.



The STATE of Texas,


Appellee



From the 226th Judicial District Court, Bexar County, Texas


Trial Court No. 2002-CR-5869


Honorable Sid L. Harle, Judge Presiding



PER CURIAM


Sitting:	Alma L. López, Chief Justice

		Catherine Stone, Justice

		Paul W. Green, Justice


Delivered and Filed:	June 25, 2003


APPEAL DISMISSED

	The trial court's certification in this appeal states that "this criminal case is a plea-bargain
case, and the defendant has NO right of appeal."  The clerk's record contains a written plea bargain,
and the punishment assessed did not exceed the punishment recommended by the prosecutor and
agreed to by the defendant; therefore, the trial court's certification accurately reflects that the
underlying case is a plea-bargain case.  See Tex. R. App. P. 25.2(a)(2).  

	Rule 25.2(d) of the Texas Rules of Appellate procedure provides, "The appeal must be
dismissed if a certification that shows the defendant has a right of appeal has not been made part of
the record under these rules."  Tex. R. App. P. 25.2(d).  On May 13, 2003, we ordered that this
appeal would be dismissed pursuant to rule 25.2(d) unless an amended trial court certification
showing that the appellant has the right of appeal was made part of the appellate record by June 11,
2003.  See Tex. R. App. P. 25.2(d); 37.1; see also Daniels v. State, No. 04-03-00176-CR, 2003 WL
21011277 (Tex. App.--San Antonio May 7, 2003, no pet. h.).  On June 11, 2003, appellant's
attorney responded with a motion requesting that this court extend the deadline to file a motion for
new trial.  In the absence of an amended trial court certification showing that the appellant has the
right of appeal, rule 25.2(d) requires this court to dismiss this appeal.  Accordingly, the appeal is
dismissed.


							PER CURIAM

DO NOT PUBLISH




